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APPENDIX
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SEPTEMBER 1991

Understanding AWP

Average Wholesale Price (AWP) is
perhaps the most misunderstood concept
in the pharmaceutical industry. The .
purpose of this article is to describe what
is meant by AWP and to explain some of
the underlying concepts involved in the
acquisition, determination and
maintenance of First DataBank’s AWP.

AWP represents an average price
which a wholesaler would charge a
pharmacy for a particular product. The
operative word is average. AWP never
means that every purchase of that product
will be exarily at that price. There are
tiany factors involved in pricing-at the
wholesale level which-can modify the
prices charged even emong a group of
customers from the same wholesaler.
AWP was.developed because there had to
be some price which all parties could agree
upon if machine processing was to be
possible.

At First DataBank, all pricing
information is.recelved in-hard copy from
the manufacturers. Catalogs, price
_ updates, and other information reach us
by fax, Federal Express, or US..mail. Inthe
past ‘two: years, fax transmission has
streanilined the acquisition of data toa
large extent.

First DataBank-has established
specific. contact people within each major
drug manufacturer/labeler’s organization.
When pricing or other questions arise, we
imcw-who to ask for reliable information.
Knowing who to talk to prevents
misinformation and keeps problems to a

| mininurn. Usually it is‘our contact people

who send information to us when there are
price changes or other product changes.
We make sure that we are placed on the
priority mailing list so that we receive the
information before the trade, Because
personnel movement within a corporation
is the norm, we continually work to keep
dur contact list current.
Once the information is received, we
often have fo interpret what the data
represents. There can be confusing or
contradictory factors, not te mention hard
fo read fax’s and typographical errors. Our
data entry experts have experience as
pharmacy technicians or in related fields.
With their knowledge and proficiency,
potential errors are detected before they
become part of the database. As an
example, occasionally a manufacturer
whieh normally sends us wholesale net
Dricitig will inadvertently send direct or
suggested list prices. It is up to the staff to
recognize the error and ask the
manufacturer to send the correct

information.

__ The pricing information which we
receive.can be in the form of wholesale nel,
diréct, or suggested wholesale prices (see
Figure 1), It is our task to convert these
prices into AWP. There are several ways in
which AWP’s are derived. Large
manufacturers such as Merck have a one
price policy for all purchasers whether
wholesale or direct, They supply their
published direct prices to which we must
determine a markup factor and arrive at an
AWP. Others supply wholesale net prices

Manufacturer

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swe fof
2 SWPo y
( 2 f
i / AWP
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Woy hb

~ > [Pharmacy]

Figure |

1 only. In order-to determine an appropriate

markup, it is necessary to survey
wholesalers, The actomipanying sidebar
(see next page) describes this process in
detail, Wholesaler surveys are an
important part of what First DataBank does
to establish vealistic AWP pricing.

Some manufacturers do not sell
products through wholesalers but supply a
suggested wholesale price, which is

feontinued on page 2)
The Monthly Interest
EGEOT wccecorceseeresseneeeneneeeee dit Wilson
PUbIsher.... cesses Joe Hirschmann
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Linda Sekino, Beth Rader
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regarded as the AWP. Others apply
different markup factors te each
product or type of product and supply
suggested wholesale prices which
wholesalers usé as their AWP. Many
generic suppliers fall into this category
(see Figure 2).

Maintenance of pricing is perhaps
the most challénging task of all. It is

| Whol

i “Receive Price >,
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ML Catalogues _ v

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Figure 2:

wv —~ Survey Drug oe

: Wholesalers ;
; Swe NO ¥ a
i Dect teen poe
: Net Wholesale ‘Price Markun
cae ioe be ae 1 Factors
Rey Enter
Co Price Catalogues 5 de
Se et peoples se
more ge Ealcutate
\ Direct “ AWP )
Net Wholesate So cee

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necessary to constantly remind
mantlacturers that-their pricing data
must be supplied on time. With the
advent of on-line claims processing,
pricing must be there when the update.
occurs. Some manufacturers do not
release their price updates until the
effective date so that purchasers
cannot take the opportunity of

our deadlines'so that they-do not miss

| [the monthly schedule. We are
“jbeginning to see results in this effort.

Data acquisition is a difficult,
exacting task which requires constarit

‘vigilance. Reporting AWP fs an

important function of First DataBank
and-we take this responsibility

-Serlously.

Price Declines And Balance

Sheets

_ Altheugh thé expected movement
of AWP’s is upward, there is an
occasional decline without a
corresponding change in-wholesale net
or direct prices; ‘Such-an occurrence

purchasing ai the old price just before —
ithe increase, We have made an all-out
effort to apprise the manvfacturers of

usually resulis when two companies
inerge info a single entity, Seeking to
| merge two pricing methods into a
unitied whole, some products exhibit
an AWP drop.

Pharmacies holding inventories of
these products had expected to sell
‘thelr inventory based on current or
future AWP. Consequently, when
billing third parties.at AWP,-the stock
on hand will produce less profit than
expected,

The aceounting method mest
| commonly-used is to carry inventory at
| the lower of cost’ or srarket value, The

sélling price does not enter into the
picture unitil the product is actually
sold. lf the selling price decreases:
Below actual cost, then the carrying
value drops correspondingly.
Conversely, if the selling price does not
decrease below actualcost; then-the
carryihg valne does not drop, but the
-elfects aré felt In future cash flow and
“profitability.

As long as mergers and
acquisitions continue in the
pharmaceutical industry; we can
expect occasional AWP decreases.

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Reality and AWP

If you were ever confused by the
AWP for the product Corgard you are
not alone. AWP pricing is an
increasingly confusing business, and
it’s especially: so when a particular
product's AWP does not behave as
expecied. Unfortunately, non-standard
pricing in the pharmaceutical industry
is becoming the norm. The following
examples will clarify some of these
Issues,

The confusion often originates
from the current atmosphere of
frequent mergers and acquisitions in
the pharmaceutical industry. When
two.companies merge, the pricing
philosophy of the larger becomes
dominant. Product swapping and
habitual changes i in marketing
strategies what has been called the

blending’ of the industry - further
complicate the situation.

Let’s go back to the example of
Corgard which this article operied
with. Last year Bristel-Meyers acquired
Squibb, which manuiactures Corgard.
The new entity, Bristol-Meyers Squibb,
moved Corgard (along with Corzide) to .
the Bristol Labs lineof products. First
DataBank responded by-revising the

AWP’s to reflect the accepted Bristol
Labs’ markup. (See page one for a
discussion of markups.)

However, Corgard still has an
NDC number recognizable in the
industry as a Squibb product, Le. it has
a Jabeler-code of 00003. Although the
distributor changed, and thus the
AWP, the NDC number remained the

-same. Since any particular labeler
code is no longer strictly associated
with only one distributor, two
products with the same labeler may
have AWP’s calculated from totally
different markups.

Although the occasional

thinimize the occurrences of pricing

‘such a change may be invisible to
Someone who sees only the results. In -
other cases a new Manufacturer Name

- {field provides the key. Regardless,

|Manager of Professional

wholesaler may still be treating these
drugs as Squibb products, this is the
exception. First DataBank always
publishes the surveyed AWP.

Capoten, Prolixin and Rauzide,
among other products in the US.
Squibb Group, recently exemplified
another type of pricing change. This
division of Squibb introduced prices io
the wholesalers where previously only
diréct pricing was available, After
thordughly researching wholesalers’
responses, we instituted a new markup
procedure, We were carefu! to include
every product aifected in order to

changes.
In'some cases the reason behind

or a change to the Labeler Identifier

there is much consideration to ensure
that the AWP reflects reality.

Bob Matutat Promoted to -

Bob Matutat has been promoted to
Manager of the Professional Services
Department. His new responsibilities
include overseeing the creation and
maintenance of all NDDF™, MDF,
Clinical, DUR and Canadian products.
He will also continue his invelvement
in the implementation and modification
of all preducts in order to ensure that
the customers requirements are being
met at the clinical level.

Bob graduated from the University
of California, Berkeley with a B.A. in

Political Science, received his

Doctorate at the UCSF School of

‘Pharmacy and completed a hospital

pharmacy residency at the University
of Illinois Medical Center, Chicago,
iIn.addition, Bob has 10 years-of
hospital experience at two major
medical centers including threé years
in drug information and four years in a
clinical pharmacy position. He joined
First DataBank in November of 1987 as

Staff Pharmacist, Professional Services.

We congratulate Beb on his

advancement and achievement, and

look forward to watching his future
successes.

‘Arkansas Medicaid

Arkansas Prior Authorization
(AR*PA)-is now available in MDF,
Definitions are as follows:

+ Q = Prior authorization is not required
T= Prior authorization ts required

(Colorado Medicaid

Colorado Prior Authorization will be
changed from 0-2 definitions to 0-3
definitions. The new PA cade will be:

3.= Prior authorization is required if

drug is dispensed through an
outpatient pharmacy.

Connecticut Medicaid Massachusetts Mediciad

Connecticut is having a Prior Two new data slements,.
Authorization data element added to Massachusets Coverage Code
the MDF effective October 1. | (MA*COV) and Massachusetts Prior
Definitions will be the following: + Authorization (MA*PA) are now
available in MDF. Definitions are as
0 = No prior authoization required follows:

1 = Prior authorization is required

2 = Prior authorization is required for | MA*COV

all vitamins except pediatric vitamins | 0 = No restrictions apply

for children to age seven. 1 = Not covered in nursing homes
aaiéeig | 2= For pediatric use only

3 = For prenatal use only

Ohio Medicaid 4 = Not covered for weight control
Ohio is having.aPrior Authorization | 5.= Only for children through age of 11

data element added to the: MDF years

effective October 1. Definitions will be: | 6 = Only for institutionalized recipient

Os No @ prior authorization required | MA*PA

| = Prior anttvorizatlon n required 0 = Prior authorization is not required
a ania z | 1 = Prior authorization fs required

2.= Prior authorization is required ior
use other than Hyperkinesis

New Jersey Medicaid

New Jersey coverage codes will go

fromm 0-3 delinitions to 0-4 definitions.
The ne coverage code will be as
iOliows:

4 = Covered for LTC recipients only

West st Virginia Medicaid

West Virginia no longer supports
prior authorization, so this data
element will be deleted from MDF. The
coverage code data element will change
from (+6 definitions to 0-5 effective
10/1/91. The definitions will be the

following:

= No restrictions apply

1 = Not covered for LTCF recipients

2 = Covered for end-stage renal disease
patients not residing in L?CF

| 3 = Covered for children through age 20
4 = Not covered for weight control

5 = Covered for women through age 45

Clinical Products Updaie
The Patient Education Module

(PEM) was updated 7/11/91 to edit

administration instructions for

| Bisacodyl suppositories, Changes

| were also made to the same module on
| 7/25/91 to-clarify that Augmentin®:

- may be taken without regard to meals

as verified by the manufacturer. Label
warnings were updated on 7/25/91 to
reflect the newly published Pharmex
chart and edited te also clarify the
Augmentin instructions.

First DataBank

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